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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


JOHN P. VOGES, III,

        Plaintiff,

v.                                              CASE NO. 3:15-cv-1470-J-25PDB

ENHANCED RECOVERY
COMPANY, LLC,

     Defendant.
________________________________/

                                       ORDER

        Before the Court is the parties' Joint Report Regarding Settlement and Request

for Settlement Conference With Magistrate Judge (Dkt. 11). Upon consideration, it is

        ORDERED that this matter is referred to United States Magistrate Judge Patricia

D. Barksdale, for the purpose of conducting a settlement conference.

        DONE AND ORDERED at Jacksonville, Florida, this 28th day of March,

2016.




Copies to: Counsel of Record
